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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 EXPEDITEE, LLC,                      :                Case No.: 1:21-cv-06237
                                      :
             Plaintiff,               :                PLAINTIFF EXPEDITEE LLC’S
                                      :                NOTICE OF VOLUNTARY
               vs.                    :                DISMISSAL #8, WITH PREJUDICE
                                      :
 THE ENTITIES listed on EXHIBIT 1,    :                District Judge: Hon. Andrea R. Wood
                                      :
             Defendants.              :
 ___________________________________ :
                                      :
 RJITSCT LLC d/b/a/ Respect The Look, :
                                      :
             Counterclaimant,         :
                                      :
               vs.                    :
                                      :
 EXPEDITEE LLC,                       :
                                      :
             Counter-defendant.       :
                                      :




       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for Plaintiff hereby notifies this Court that the Plaintiff voluntarily dismisses the below
listed defendants in this action (“Defendants”):

                        Platform               Defendant
                        Amazon                 Harmonyoo
                        Amazon                 BedItems




[CONTINUED ON NEXT PAGE]

VOLUNTARY DISMISSAL #8                             1
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        Defendants have not filed an answer or otherwise responded in this action. Plaintiff
 dismisses Defendants with prejudice.


Dated: July 15, 2022

                                                /s/ Marie E. Richmond
                                                Marie E. Richmond (pro hac vice)
                                                LOZA & LOZA LLP
                                                305 N. Second Ave., #127
                                                Upland, CA 91786
                                                Email: marie.richmond@lozaip.com

                                                Attorneys for Expeditee, LLC




                                 CERTIFICATE OF SERVICE
        I hereby certify that on July 15, 2022, I electronically filed the foregoing with the Clerk of
 the Court by using the CM/ECF system which will send notice of electronic filing to all parties at
 the email addresses on file with the Clerk of Court.

                                               By: /s/ Marie E. Richmond




 VOLUNTARY DISMISSAL #8                           2
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